       Case 2:21-cv-01174-NJB-DMD Document 2 Filed 06/16/21 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 Advanta-Star Automotive Research Cor-       Civil Action No. 2:21-cv-01174
 poration of America,
                                             Section , Division
                    plaintiff,
                                             District Judge
 versus
                                             Magistrate Judge
 Search Optics, LLC, et al.
                                             Jury Trial Requested
                  defendants.


                                    Rule 7.1 Statement

       Plaintiff Advanta-Star Automotive Research Corporation of America (“Advanta-

Star”) discloses the following:

1)     Advanta-Star is a non-governmental corporation;

2)     Advanta-Star has no parent corporation; and

3)     there is no publicly held corporation which holds an ownership interest in Advanta-

       Star of greater than 10%; and

4)     this information is current and valid as of June 16, 2021.


                                          Respectfully submitted,

                                             /s/ Andrew T. Lilly
                                          Andrew T. Lilly (La. 32559)
                                          4907 Magazine Street
                                          New Orleans, Louisiana 70115
                                          t: (504) 812-6388
                                          f: (504) 539-4180
                                          e: andrew@atlpllc.com

                                          and
       Case 2:21-cv-01174-NJB-DMD Document 2 Filed 06/16/21 Page 2 of 2




                                                Stephen M. Dorvee (Ga. 226989) 1
                                                stephen.dorvee@agg.com
                                                Morgan E.M. Harrison (Ga. 470983) 2
                                                morgan.harrison@agg.com
                                                Becki C. Lee (Ga. 167852) 3
                                                becki.lee@agg.com
                                                Arnall Golden Gregory, LLP
                                                171 17th Street, N.W., Suite 2100
                                                Atlanta, Georgia 30363
                                                t: (404) 873-8500
                                                f: (404) 873-8501

                                                Attorneys for Advanta-Star Automotive Re-
                                                search Corporation of America




1                                                     3
  Motion for pro hac vice admission forthcom-           Motion for pro hac vice admission forthcom-
ing.                                                  ing.

2
  Motion for pro hac vice admission forthcom-
ing.


                                           Page 2 of 2
